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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §               Case No: 1:22-cv-00150
                                      §
vs.                                   §               PATENT CASE
                                      §
FORWARD THINKING                      §
SYSTEMS LLC,                          §               JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                                          COMPLAINT

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files this Complaint

against Forward Thinking Systems LLC (“Defendant” or “Forward Thinking Systems”) for

infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

                                PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes.

       3.      Plaintiff is a Wyoming limited liability company with an address of 1 East Broward

Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a New York limited liability company with

its principal office located at 575 Jericho Turnpike, Suite 301, Jericho, NY 11753. On information

and belief, Defendant may be served through its agent, The LLC, 575 Jericho Turnpike, Suite 301,




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Jericho, NY 11753.

        5.          On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

        6.          On information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                 VENUE

        7.          On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to reside in this District. Alternatively, acts of infringement

are occurring in this District and Defendant has a regular and established place of business in this

District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

        8.          Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.          This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.         Plaintiff is the owner by assignment of the ‘365 Patent with sole rights to enforce

the ‘365 Patent and sue infringers.

        11.         A copy of the ‘365 Patent, titled “Device, System and Method for Remotely

Entering, Storing and Sharing Addresses for a Positional Information Device,” is attached hereto

as Exhibit A.

        12.         The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.



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       13.     Upon information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘365 Patent by making, using (at least by having

its employees, or someone under Defendant's control, test the accused Product), importing, selling,

and/or offering for sale associated hardware and software for asset locating services (e.g., Forward

Thinking Systems asset tracking platform, and any associated hardware, apps, or other software)

(“Product”) covered by at least Claim 1 of the ‘365 Patent. Defendant has infringed and continues

to infringe the ‘365 patent either directly or through acts of contributory infringement or

inducement in violation of 35 U.S.C. § 271.

       14.     The Product provides an asset tracking system for real-time GPS tracking of assets.

A user can receive location information on a positional information device (e.g., mobile device or

computer). Certain aspects of this element are illustrated in the screenshot(s) below and/or in those

provided in connection with other allegations herein.




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          15.   The Product software sends a request from a first (requesting) positional

information device (e.g., mobile device or desktop with software installed) to a server. The request

is for the real-time location (e.g., stored address) of an asset, and includes a first identifier of the

requesting positional information device (e.g., user ID and password for the Product software used

in the particular enterprise). The request is sent to the Product server for transmitting the asset

location. The server receives the at least one address from a second (sending) positional

information device at the asset (e.g., employee mobile phone). Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other allegations

herein.



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          16.   The at least one address is received from the server at the requesting positional

information device. For example, the Product’s server transmits the position of an asset (at least

one address) to the requesting positional information device. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other allegations

herein.




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       17.     A second identifier for the second (sending) positional information device is

determined based on the first identifier and the server retrieves the at least one address stored in

the at least one sending positional information device. The Product application installed on the

requesting positional information device requests (from the server) the asset’s GPS location (i.e.,

at least one stored address stored). As shown above, before activating the tracker (i.e., the sending

positional information device), a unique tracking device’s ID number or credentials (i.e., second

identifier) needs to be added to the user’s account identified by the user login ID and password

(i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials (i.e., second

identifier) is mapped to the user’s login ID (i.e., the first identifier) for tracking the real-time



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location (i.e., at least one stored address) of the asset. Certain aspects of this element are illustrated

in the screenshot(s) below and/or in those provided in connection with other allegations herein.




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          18.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          19.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

          20.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                           JURY DEMAND

          21.   Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice of




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 the order from further infringement of United States Patent No. 9,261,365 (or, in the alternative,

 awarding Plaintiff a running royalty from the time of judgment going forward);

        (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

 with 35 U.S.C. § 284;

        (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

        (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

 law or equity.



 Dated: January 11, 2022.                    Respectfully submitted,


                                             /s/Jay Johnson
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